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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

SAWSAN BAKER,

              Plaintiff,

v.                                                Case No. 6:17-cv-00778-GAP-DCI

CREDIT ONE BANK, N.A.,

              Defendant.
                                  /

                           NOTICE OF PENDING SETTLEMENT

       Defendant, Credit One Bank, N.A., by and through its undersigned counsel, hereby

submits this Notice of Pending Settlement and states that the parties have reached a verbal

settlement with regard to this case and are presently drafting, finalizing, and executing the

settlement and dismissal documents. Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

Dated: January 19, 2018

                                          Respectfully submitted,

                                          /s/ Jocelyn C. Smith
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                                          Attorneys for Defendant,
                                          Credit One Bank, N.A.



                             CERTIFICATE OF SERVICE

       I certify that on this 19th day of January 2018, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system, including plaintiff’s counsel as

described below. Parties may access this filing through the Court’s system.

                                    Amy Ferrera, Esq.
                             Morgan & Morgan, Tampa, P.A.
                             201 N. Franklin Street, 7th Floor
                                    Tampa, FL 33602


                                          /s/ Jocelyn C. Smith
                                          Attorney




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